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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

               Case No. 1:15-cv-025560-WJM-MJW
               ______________________________________________________
               DEPOSITION OF: LORRAINE M. RAMOS - August 14, 2017
               ______________________________________________________

               LORRAINE M. RAMOS, CONSTANCE R. WILLIAMSON, KAREN F.
               McCLEOD, ROBERT MOFFITT, CHERLENE M. GOODALE, LINDA
               ANN HEYRMAN, and DELRI HANSON, individually and as
               representatives of a class of plan participants, on
               behalf of the Banner Health Employees 401(k) Plan,

               Plaintiffs,

               v.

               BANNER HEALTH, BANNER HEALTH BOARD OF DIRECTORS,
               LAREN BATES, WILFORD A. CARDON, RONALD J. CREASMAN,
               GILBERT DAVILA, WILLIAM M. DWYER, PETER S. FINE,
               SUSAN B. FOOTE, MICHAEL J. FRICK, MICHAEL GARNREITER,
               RICHARD N. HALL, BARRY A. HENDIN, DAVID KIKUMOTO,
               LARRY S. LAZARUS, STEVEN W. LYNN, ANNE MARIUCCI,
               MARTIN L. SHULTZ, MARK N. SKLAR, QUENTIN P. SMITH,
               JR., CHRISTOPHER VOLK, CHERYL WENZINGER, BANNER HEALTH
               RETIREMENT PLANS ADVISORY COMMITTEE, BRENDA SCHAEFER,
               BRUCE E. PEARSON, CHARLES P. LEHN, COLLEEN HALLBERG,
               DAN WEINMAN, DENNIS DAHLEN, ED NIEMANN, JR.,
               ED OXFORD, JEFF BUEHRLE, JENNIFER SHERWOOD,
               JULIE NUNLEY, MARGARET DEHAAN, PATRICIA K. BLOCK,
               PAULETTE FRIDAY, RICHARD O. SUTTON, ROBERT LUND,
               MICHAEL GILLEN, STEVEN L. SEILER, THOMAS R. KOELBL,
               and JEFFREY SLOCUM & ASSOCIATES, INC.,
               Defendants.
               ______________________________________________________

                         PURSUANT TO NOTICE, the deposition of
               LORRAINE M. RAMOS was taken on behalf of the
               Defendants at 1635 Foxtrail Drive, Loveland,
               Colorado, on August 14, 2017, at 8:50 a.m., before
               Lisa B. Kelly, Registered Professional Reporter,
               Certified Realtime Reporter, and Notary Public within
               Colorado.




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          1    deposition today on behalf of Jeffrey Slocum &
          2    Associates, and I would like to ask you a few
          3    questions.
          4                    First of all, I would like to know if
          5    you -- do you know -- do you have any information
          6    about Jeffrey Slocum & Associates?          Do you know what
          7    that company is or what it does?
          8                    MR. SCHWARTZ:     And I just object.      To the
          9    extent the question calls for communications between
         10    counsel, I would instruct you not to answer, if your
         11    answer would divulge those communications.           But other
         12    facts that you might have that might be responsive to
         13    his question, please do, give a full answer.
         14              A.    No, I do not.
         15              Q.    (BY MR. BORAN)     Do you know if Jeffrey
         16    Slocum & Associates is a defendant in this case?
         17              A.    Yes.
         18              Q.    Okay.   What do you understand the
         19    allegations against Jeffrey Slocum & Associates to be?
         20              A.    They were an advisor to Banner Health,
         21    were paid fees to be advisors to Banner Health
         22    regarding the 401(k) plan.
         23              Q.    And can you talk -- can you elaborate
         24    beyond that?     Can you tell me specifically what your
         25    claim against Jeffrey Slocum & Associates is in this
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          1    case?
          2                     MR. SCHWARTZ:    Object.    Asked and
          3    answered.      But please, do go ahead.
          4              A.     No.   I would rather not.     I mean, I would
          5    defer you to my -- to my lawyer for that.
          6              Q.     (BY MR. BORAN)    So are you able to, from
          7    your -- from your position personally, not anything
          8    your lawyer told you, but can you provide any facts
          9    that support any claim that you have against Jeffrey
         10    Slocum & Associates in this case?
         11              A.     No.
         12              Q.     Do you know what Jeffrey Slocum &
         13    Associates did, with respect to the plan, if anything,
         14    during the time you were an employee at Banner?
         15              A.     No.
         16              Q.     Do you know if Jeffrey Slocum &
         17    Associates is still a service provider to the plan at
         18    Banner Health?
         19              A.     I do not.
         20              Q.     Have you ever met anyone at Jeffrey
         21    Slocum & Associates?
         22              A.     Not to my knowledge.
         23              Q.     Do you know whether any fees were charged
         24    to your account for purposes of paying Jeffrey Slocum
         25    & Associates for any services they provided?
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          1              A.    I do not know.
          2                    MR. BORAN:    I have no further questions.
          3                    MR. SCHWARTZ:     And I have no questions
          4    for the witness.
          5                    MR. PEARL:    That's all.
          6                    MR. BORAN:    That's all, folks.
          7                    THE REPORTER:     Before we go off the
          8    record, can I get orders on the record?
          9                    Same order as before?
         10                    MR. PEARL:    Uh-huh.
         11                    THE REPORTER:     Chris, do you need a copy
         12    of the transcript?
         13                    MR. BORAN:    Same order as before,
         14    assuming this is the same reporting service.
         15                    THE REPORTER:     It is.    And I just want to
         16    follow up with you.      Sari ordered this electronic
         17    transcript.     I didn't talk to him about whether or not
         18    he needed scanned exhibits.        Would he like electronic
         19    exhibits with that transcript?
         20                    MR. BORAN:    Yes, please.
         21                    THE REPORTER:     Okay.    That's the only
         22    thing I needed to confirm with you.          Thank you.
         23                    MR. SCHWARTZ:     Same as before.      And we
         24    will read and sign.
         25                    THE REPORTER:     Perfect.    Now we are off
